

People v Seigniuos (2023 NY Slip Op 06221)





People v Seigniuos


2023 NY Slip Op 06221


Decided on December 05, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 05, 2023

Before: Kern, J.P., Gesmer, Moulton, Kennedy, Higgitt, JJ. 


Ind. No. 71033/22 Appeal No. 1154 Case No. 2022-02238 

[*1]The People of the State of New York, Respondent,
vQuran Seigniuos, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Elizabeth M. Vasily of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Max Bernstein of counsel), for respondent.



Judgment, Supreme Court, New York County (Robert M. Mandelbaum, J.), rendered May 11, 2022, convicting defendant, upon his plea of guilty, of attempted criminal possession of a weapon in the second degree, and sentencing him, as a second felony offender, to a term of three years, unanimously affirmed.
Defendant's Second Amendment claim is unpreserved, and we decline to address it in the interest of justice (see People v Adames, 216 AD3d 519 [1st Dept 2023], lv denied 40 NY3d 949 [2023]). As an alternative holding, we find that on the present record, defendant has failed to establish that Penal Law § 265.03(1)(b) is
unconstitutional under New York State Rifle &amp; Pistol Assn., Inc. v Bruen (597 US &amp;mdash, 142 S Ct 2111 [2022]), or that he would be entitled to vacatur of his conviction on that basis.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 5, 2023








